8:14-cr-00155-JFB-SMB          Doc # 404     Filed: 03/07/16      Page 1 of 1 - Page ID # 1480




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:14CR155

       vs.
                                                                          ORDER
CEDJI RODRIGUEZ,

                      Defendant.


     Defendant Cedji Rodriguez appeared before the court on Friday, March 4, 2016 on an
Amended Petition for Warrant for Offender Under Supervision [393].           The defendant was
represented by Assistant Federal Public Defender Richard H. McWilliams and the United States
was represented by Assistant U.S. Attorney Matthew R. Molsen. Defendant waived her right to a
preliminary examination. The government moved for detention. A detention hearing was held.
The government’s motion for detention is denied. Therefore, the defendant will be released on
current conditions of supervision.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Senior Judge Bataillon.
     IT IS ORDERED:
       1.      A final dispositional hearing will be held before Senior Judge Bataillon in
Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on March 11, 2016 at 2:30 p.m. Defendant must be present in person.
       2.      The defendant is to be released on current conditions of supervision.


       Dated this 7th day of March, 2016

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
